Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 1 of 39 PageID 7




                EXHIBIT 1




                                                          Exhibit 1
   Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                Page 2 of 39 PageID 8


                                                                        Chris M. Blanton
                                                                   cblanton@peavlerbriscoe.com
                                                                          (817) 756-7696




                                      September 21, 2022


Via E-Service
Kenneth Aube
Daspit Law Firm
600 N. Pearl Street, Suite·2205
Dallas, Texas 75201.

       RE:     Craig Castellanos v. Kroger Texas, L.P.; Cause No. DC-22-06133; in the 193rd
               Judicial District Court of Dallas County, Texas.

Dear Mr. Aube:

       The purpose of this correspondence is to request that Plaintiff stipulate that he is not
seeking, and will not amend to seek in the future, damages in excess of $75,000.00, exclusive
of interest and costs. Furthermore, in the event a jury awards more than $75,000.00 in
damages, Plaintiff agrees to a remititur that establishes the total damages awarded to Plaintiff
at $75,000.00, exclusive of interest and costs.

        To the extent that Plaintiff’s Original Petition specifically states that “Plaintiff seeks
monetary relief over $250,000.00 but not more than $1,000,000.00, including damages of any
kind, penalties, costs, expenses, pre-judgment interest and attorney’s fees”, this Rule 11
Agreement constitutes a stipulation reflecting the actual amount in controversy and modifies
the jurisdictional allegations set forth in Plaintiff’s Original Petition.

         If Plaintiff agrees to the stipulation above, please execute this Rule 11 agreement
below, and return same to me, no later than September 30, 2022. If we do not receive the
executed stipulation by September 30, 2022, we will assume for removal purposes, that
Plaintiff seeks recovery in excess of $75,000, exclusive of interest and costs.

       We look forward to your response.

                                                    Very truly yours,


                                                     /s/ Chris M. Blanton
                                                    Chris M. Blanton
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 3 of 39 PageID 9




AGREED AND STIPULATED:


________________________________________      __________________
Kenneth Aube                                  Date
Attorney for Plaintiff




CMB
               Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22            Page 4 of 39 PageID 10


                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Chris Blanton on behalf of Chris Blanton
Bar No. 796218
cblanton@peavlerbriscoe.com
Envelope ID: 68480321
Status as of 9/21/2022 2:00 PM CST
Case Contacts
Name                     BarNumber   Email                           TimestampSubmitted     Status
DLF Intake                           intake@daspitlaw.com            9/21/2022 1:59:36 PM   SENT
Alma Lira                            Alira@proactivelegal.com        9/21/2022 1:59:36 PM   SENT
Daspit Proactive Legal               daspit@proactivelegal.com       9/21/2022 1:59:36 PM   SENT
Kyle Briscoe                         kbriscoe@peavlerbriscoe.com     9/21/2022 1:59:36 PM   SENT
Mark Forester                        mforester@peavlerbriscoe.com    9/21/2022 1:59:36 PM   SENT
Liz Contreras                        econtreras@peavlerbriscoe.com   9/21/2022 1:59:36 PM   SENT
Joanna Nava                          jnava@daspitlaw.com             9/21/2022 1:59:36 PM   SENT
John Daspit                          e-service@daspitlaw.com         9/21/2022 1:59:36 PM   SENT
Jaime Holder                         jholder@proactivelegal.com      9/21/2022 1:59:36 PM   SENT
Kenneth Aube                         kaube@daspitlaw.com             9/21/2022 1:59:36 PM   SENT
Chris M.Blanton                      cblanton@peavlerbriscoe.com     9/21/2022 1:59:36 PM   SENT
Jennifer Renfro                      jrenfro@peavlerbriscoe.com      9/21/2022 1:59:36 PM   SENT
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 5 of 39 PageID 11




                EXHIBIT 2




                                                          Exhibit 2
10/11/22, 12:14 PM                                                        Details
               Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                     Page 6 of 39 PageID 12




             Case Information

             DC-22-06133 | CRAIG CASTELLANOS vs. KROGER TEXAS, L.P.

             Case Number                            Court                            Judicial Officer
             DC-22-06133                            193rd District Court             WHITMORE, BRIDGETT
             File Date                              Case Type                        Case Status
             06/07/2022                             OTHER PERSONAL INJURY            OPEN




             Party

             PLAINTIFF                                                               Active Attorneys 
             CASTELLANOS, CRAIG                                                      Attorney
                                                                                     DU, THOMPSON
                                                                                     Retained



                                                                                     Lead Attorney
                                                                                     AUBE, KENNETH
                                                                                     Retained




             PLAINTIFF                                                               Active Attorneys 
             Castellanos, Craig                                                      Lead Attorney
             Address                                                                 DU, THOMPSON
                                                                                     Retained
             440 Louisiana St.
             Suite 1400
             Houston TX 77002




             DEFENDANT                                                               Active Attorneys 
             KROGER TEXAS, L.P.                                                      Lead Attorney
             Address                                                                 BRISCOE, B KYLE
                                                                                     Retained



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      1/4
10/11/22, 12:14 PM                                                        Details
              Case 3:22-cv-02277-S
             REGISTERED              Document
                        AGENT CORPORATION       1-2
                                          SERVICE    Filed 10/11/22
                                                  COMPANY                           Page 7 of 39 PageID 13
             211 EAST 7TH STREET, SUITE 620
             AUSTIN TX 78701-3218




             Events and Hearings


                06/07/2022 NEW CASE FILED (OCA) - CIVIL


                06/07/2022 ORIGINAL PETITION 


                ORIGINAL PETITION


                06/07/2022 ISSUE CITATION 


                ISSUE CITATION


                06/07/2022 REQUEST FOR SERVICE 


                REQUEST FOR PROCESS


                06/22/2022 CITATION 


                Served
                06/22/2022

                Anticipated Server
                ESERVE

                Anticipated Method
                Actual Server
                OUT OF COUNTY

                Returned
                06/28/2022
                Comment
                KROGER TEXAS, L.P.


                06/28/2022 RETURN OF SERVICE 


                     Comment
                     EXECUTED CITATION - KROGER TEXAS, L.P.


                06/29/2022 ORIGINAL ANSWER - GENERAL DENIAL 

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      2/4
10/11/22, 12:14 PM                                                        Details
               Case 3:22-cv-02277-S
               ORIGINAL ANSWER      Document 1-2 Filed 10/11/22                     Page 8 of 39 PageID 14

                07/22/2022 DISMISSAL FOR WANT OF PROSECUTION 


                193RD Initial Dismissal Notice

                Judicial Officer
                WHITMORE, BRIDGETT

                Hearing Time
                1:30 PM


                08/19/2022 AFFIDAVIT 


                NOTICE OF FILING BUSINESS RECORDS AFFIDAVITS

                     Comment
                     NOTICE OF FILING BUSINESS RECORDS AFFIDAVITS




             Financial

             CASTELLANOS, CRAIG
                     Total Financial Assessment                                                      $358.00
                     Total Payments and Credits                                                      $358.00


              6/13/2022       Transaction Assessment                                                $358.00

              6/13/2022       CREDIT CARD - TEXFILE        Receipt # 35144-2022-    CASTELLANOS,   ($221.00)
                              (DC)                         DCLK                     CRAIG

              6/13/2022       STATE CREDIT                                                         ($137.00)




             Documents


                REQUEST FOR PROCESS
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                        3/4
10/11/22, 12:14 PM                                                        Details
               Case 3:22-cv-02277-S
               ORIGINAL PETITION    Document 1-2 Filed 10/11/22                     Page 9 of 39 PageID 15
                ISSUE CITATION

                193RD Initial Dismissal Notice
                ORIGINAL ANSWER

                NOTICE OF FILING BUSINESS RECORDS AFFIDAVITS




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      4/4
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 10 of 39 PageID 16




                 EXHIBIT 3




                                                          Exhibit 3
            Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                              Page 11 of 39 PageID 17




                                                                                                                        TMM / ALL
                                                                                                     Transmittal Number: 25120606
Notice of Service of Process                                                                            Date Processed: 06/24/2022

Primary Contact:           Venessa C. Wickline Gribble
                           The Kroger Co.
                           1014 Vine Street
                           Cincinnati, OH 45202-1100

Entity:                                       Kroger Texas L.P.
                                              Entity ID Number 2172000
Entity Served:                                Kroger Texas, L.P.
Title of Action:                              Craig Castellanos vs. Kroger Texas, L.P.
Matter Name/ID:                               Craig Castellanos vs. Kroger Texas, L.P. (12485917)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Dallas County District Court, TX
Case/Reference No:                            DC-22-06133
Jurisdiction Served:                          Texas
Date Served on CSC:                           06/22/2022
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Daspit Law Firm
                                              469-206-8210

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                                                                      Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                     Page 12 of 39 PageID 18
                                      FORMNO. 353-3-CITATION.
                                      THE STATE OF TEXAS                                                                                                                                                                             ESERVE
                                                                                                                                                                                                                            CITATION                                                  ,·
                                      To:       KROGER TEXAS, L.P.
                                                REGISTERED AGENT CORPORATION SERVICE COMPANY
                                                211 EAST 7TH STREET SUITE 620
                                                                                                                                                                                                                         No.: DC-22-06133 .
                                                AUSTIN TX 78701-3218

                                         GREETINGS:                                                          .           .
                                   '.: :·Yqu haye:'been:.sued:~Yotfn#y·employ an attorney. If you: or 'your aithmey:<Jb-·not file a written ·            , . ..         CRl\~G ~J\!;.ELLANOS                                                                                       _.. _
                                  · '··ari:swer;with,the clerk::~h.Q;iiS~~~(j~this citation,))y=lO o'clock a.m. oftp~·i_MQ.r{daypext following:the             ·,.-,- KROGERTEXAS. LP.                                                                                     · · "'""
~-- ~ · -                        . ---.- expiration·of~tweptyjf9.yS ·after_,you were served this citation:and petitf(i~~:-a-4_efaUit jUdgment may .,. :-c;. -~~ --~-        : -·~ ~-~.:-~,~·:::; -~-:                                                                            --   --;··:7:-~ ...
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>fi:;;. -~: ;.-.- ·.-';make·initial:disclosures:to::~ll~:Qttier;parties:of.this suit These·disclosure~-g~~e!~JJy,must be made: · · •.. : '-<::::;}··,-,;, ... '};,~;;''ISSUED>: · . -· ...·, '"·. ,._ ..
'+"·'I"" :.:;;;~~~·n noJater=than:30.::days:~fl~r~')'mvfi.l~.:your-answerwith the cl~rk.,;:.f:i~<f.cp:u~,mQ.r~·~t-~>L.f~;~,,'- .-:::' >}:' · · · ':·ortthisthe 22nd day•of!June~·2022"- , : - .
~s·:+•:::;:!;,;,:i;:.;_,-_,-,_._h:TexasLawHelp:org~Nout.mswer;should:be·.addressed to the.clerk.ofthe l93rdDiStricu:ourt·ac,;                            ·_:·. :     ~:;. ~-- ·,''-:'(·'-·'·, . ii- ._. ··::· ·
:. :!.:         ·, ,:                 600 Commerce Street, Dallas,Texas75202.                                                ··                                   ·-- -· ·                           ti( ··    · _;-·, ....__   -<   ·>···   ··t   '.· ,,__   · -·-,

                                                                                                                                                                                                                            FELICIA PITRE ,·
                        .,. -._:· /1~-; Said Plaintiffoeing:CRAIG~ CASTELLANOS                                                                                                                       · · . , . · ·(·Clerk .Dis.trict;Cou:rts;' ~. ; <:: . ·.
                                                                                                                                                                                                                    Dallas County, Texas· ... , · ·
u;.>i':                     ~·   <;:.. •.•Filed in said Court 7th day ofJune; 2022 against                                                                                                                                                                             -   _;,..·._·.-., __

                     _:,-    .,:.,                   :~-··.·   -'~'       ·.   ·;-~],'',':, .::.~-~                 -                                                                                 By: ALEJANDRA HERNANDEZ"                                                  = ·
            ,,.. --·-· --   .• --··                                       .--.!.-::.-.• ,~·.: .~:-..,.-~ . "":-,_

                                      KROGERTEXAS, L~PI: ·.                                                                                                                                           >:;: u~.:::_·]· ", ,           D~p:uty_.y
                                                                      -        --                                       -·        ---- .. ·-·-   --··   -   "''      .   ---        ."

                          ·' ,r,forSuit,:.sai&suit beirigritimbere~LD'C.;.-22.;06133, the t1ature ofwhich-den:iand:is;a!l·follows;c,;;:;,t:-ii·,~-(.·:. · :.                                     .:<: :· :>·, cAttoi'ney-.(9r:.Pbtintiff:~~~ J;·.
'; ~=:l3Y :-~_,:::.·',h,:·:~ :~ Suiton:<lTHER:PERSONAIJ:•INJil:JR¥:et·c: 'as shown on said petition; i'icopy~o:fiwh'icli)iccompanies                                                                :: .;·: .">, ;· -,_.\-"KENNETH :A:UBE~ ;·_. .
                                                                                  returned .unexec~t¢.~:~~-t. ~>.:.~~:\,g;: . -~ ;_ r :~-~~
                                      this.citationi:~If:this~~c-itatiQni.is . nof~SerV~c.\,~:it:_shall·.be                                 .- . ." . -_                                 !. •.   -  -~~-'
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                                                , .. _,. __,,_,_·_; i-.. ·                                  r;.,-,:_1:'}.-I:.>:                                                  DALLASTX75201:.
                   f J;/·WITNESS:,FE:LICIA~PJT~}'Cletk'ofthe District Courts.-OfDalla.S, County,Jex_a:s'~~t; ;-~--- .; :. : ·; :'                          · · · \},· ~~--          .;•214~30'7-6226:/::'c.·.·.-;
,~e:;· /f:·r::,::' '.tt:~~:·Giveh.imder.nn'iy:ihand:jifi_~:~the~,S:eatofJ~a~d~:CQtirtat office, _ on,tJlJ$i:1b~_laJ!:d.~43-y:..dl'Jun~; ~02l', .. ,. ·- · -' . ':__ ·,E;.SERNICE@DASPlT:t:.Nw~cOM ·
  . ' •.. .                                                                                                                                                                      l)~LLAS COUNTY
        .· ~             ATTEST:.FELICIAPI'l'RE,'\~<                                             · ·· ·                                                           :'' c·;·;'' -:-: ;SERVICEFEES ~-Iii
            ·. '.,.. ;·clerk ofthe:District,Courts:otD~llas County, Texas                                   ~··:.: \·:M~                                                       ..        . ..
                                                                                                                                                                              i • ; NOT-PAID-;                    ,
                                                                                                                                                                                                               . ·: .r .·
                                                                                                                                                                                                                  -, -~                                                                . . . ~' .




  ,':',                                            ~lRAi~lEZ                                                                                            $                                                                                          . . ' I~
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  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                                                                                                                                                          Page 13 of 39 PageID 19W f /'ZUZ'L. J:4!> t-'~
1 CIT ESERVE                                                                                                                                                                                                                                                                                                        FELICIA PITRI
                                                                                                                                                                                                       '.              ··: 0                     •·,.'                                                         ·. DISTRICT CLERI
                                                                                                                                                                                                                                                                                                             DALLAS CO., TEXA:
                                                                                                                                                                                                                        ···!
                                                                                                                                                                                                                                                                                                         Paula Mountique DEPUT'
                                                                      ···)                                                                                                                                              ~   .'                                  .. ··.
                                                                                                     .. DC-22~06133·'·'
                                                                ,,,
                                                                                                  .
                                                                                               ·CAUSE NO.~.. -_ __

CRAIG CASTELLANOS                                                                                                          §                                                                                                ·.IN                THE DISTRICT COURT
                                                                                                                           §
        Plaintiff,                                                                                                         §
                                                                                                                           §
v.                                                                                                                         §                                                                                                       DALLAS COUNTY, TEXAS
                                                                                                                           §
KROGER TEXAS, L.P.,                                                                                                        §
                                                                                                                           §                                                                 193rd
        Defendant.                         :     '         ._:.            ~ ·'                                         .§                                                                                                         ___:J'uinciAL i>ISTRICT
                                           ..                                                                                                                                                                                                                                       ···.
                                           ·.' . PLAINTIFF'S ORIGINAL PETI'fiON

        Plaintiff, Craig Castellanos· (hereinafter, ''Plaintiff') complains                                                                                                                                                                                     of Defendant,                            Kroger

Texas, L.P ., (hereinafter,. ..Defendant"), and
                                            .  -
                                                 would resp¢ctfully show the c6urt that::
                                                                                    .   .           ..
                                                                                                    .. _._;_   ....   _.·_ ',·


                                                                                                 ·-Discovery Control Plan
                                                                            '. i                                                                                                                                                                 ·~-~

 1.     Plaintiff intends to conduct discovery- in this matter under Level 3- of the Texas Rules of

 Civil Procedure.

                                                                                                        Jurisdiction and Venue

 2.     The claims asseit~d;arise 'under the ~ammon law ofTdias. This Court has jurisdiction and
                                    ,. •   ,~"                             '                             •                                      • •                                                                                              • • :.:      ·:·.~ ~     •   •     11 _.-




 venue is proper because all o~ a sp.bstantial part ofthe events ~r omissions giving. rise to t~e claim
                                                                      ...            -~~- --.~·,,                              ..       '.>.::~. . ·--.                  -., ..,               ' .. :~:.-~:.;.~.. ~·.:.                                   '        ~

occurred in Dallas C~unty, Te~a~ .. ··
                                                           .~...       -~       ;'                                                                                                                         i           ' '.         ~.                                        ..  -'•   :.   ;       .
                                           .                                                    .
                                           : St~t~ment Regarding Monetary Relief Sought
                     '   ', ,   •    ~                                               ~' ,   '.• :                                   •   •   1   '-'~               ,•,                                                             :.   j                         "'( I




 3.     Pursuant to Texas. Rule of Civil Procedure 47(c), Plaintiff seeks monetary relief over
                                                            '                                                                                '· ',   ~     <   !          .~   . ;_. ·•: -   ~~ ·.·j   I' •                                 '         .




 $250,000.00 but ilOt                    m~r~ th~n $1 ,000,000~00, in~luding damages of any. kind, pe~alties, costs,
 expenses, pre-judgment interest and attorney's fees and judgment for all other relief to which

 Plaintiff is justly entitled. Plaintiff expr~ssly r~se~~~ the rig~t to amend thi~ Rule 47 statement of

 relief if necessary. P-laintiff further pleads that the amount in controversy in this matter. dpes not
                                           I •       • ,          '    •       't            ," ,' •,                   '• •        0                               '-I         "                      ;       ~   ,   't i ;• •   , '                                                           •


 exceed $75,000.00.




                                                                                                                                                     ••   ~ '.:••   •••        ~ _:,__ 1                               ...  -.,



                                                                                                                                                                               . ;i ·.
 Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                                                                                                                                                     Page 14 of 39 PageID 20



                                                                                      •         '•       '                         •           r                                                            .;          .•-


                                                                                                    Parties

4.     Plaintiff is an individual residing in Dallas County, Texas.

5.     Defendant, Kroger Texas, L:P .. (ii~reinafter                                                                                                                      ~~Defe~d~f'),                                                           is. a domestic corporation

engaged in business in Dallas                                  Coti~ty, Texa~. Defeiidari.t m~y-be served\vith process by serving
its registered agent, Corporation Service Company, at 211 East 71h Street, Suite 620, Austin TX

78701-3218.

                                                                     Misnomer and Alter Ego

6.     In the event that any parties are misnamed or not included herein, it is Plaintiffs contention

that such was a misnomer and/or such parties _are/were alter. egos of parties names herein.

Specifically, it is Plaintiffs intent to. bring suit against the owners and/or operators of Kroger
                                                                      •                   '                                                                     '          •                                            q,·




Texas, L.P.

                                                                                                . Facts .
                                       :.:       .. ·.         .... •··       .:  . ..'~:.-.           -..                                         ..                                              .      .I,'
                                                                                                                                                                                                                                                                    ·~



7.     This lawsuit is necessary as, a result of personal injuries that Plaintiff received on or about
                        •.'   1              !   0   '.~   '                                                 ~   !       0
                                                                                                                             I ;               ,
                                                                                                                                                   0
                                                                                                                                                                                •   ~    •                                                    :    <.,', {:



April 16, 2022. At that time, Plaintiff was an invitee at Defendant's store· at 1919 Faithon P Lucas

Sr Blvd, Mesquite, TX 75181. Plaintiff was walking through the Defendant's store when he slipped
                                                                                                                 .           ,;j,,



in a large pile of water on the floor. The fall caused the Piaintiff to suffer severe injuries. There
                                                                                                                                                                                                                    '   .~

were no warning signs present or any other signs of caution near the area where the incident

occurred. Plaintiff was not aware of the dangerous and defe~tive condition.
                                                                                                                                           '           •    •       •     '·    •    ~       '    I,




8.     At the time of the incident in question~ Plaintiff was an invitee ofthe Defendant. Defendant

knew or should have known of the unreasonably dangerous condition and neither corrected nor
                                                                                                         .               .         .                                                                      ..

warned Plaintiff of it. Plaintiff did not have any knowledge of tl:ie da~gerous condition and could
                        ;:        ·.     .. ·-' .. ~                      .   '   .           -.,    .                            "- ~                 \.   . '~~ ;              -- .        .'        . '; .· . . . ' ...            '   .        .

not have reasonably been expected to discover it:·Defendanteither created the condition and/or
                                                                 I                    •••i           • '.            '       .'        •                                       / •   1 •          •'     • ,,   ~         •   I   .                           ' •   ' •




failed to correct the condition or to warn ~laintiffa~out the dangerous co~-~i~ion, which constituted

                                                                                                                                                                        l_ _ :.


                                                                                                                 ·2
 Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                                                                                                                                                                                         Page 15 of 39 PageID 21
                                                                                                                                                                                   '.·:               ;·.:


                                                                                                                                              ' I } •. : ·,      -~            '              ~ ·. ; ·. ~


negligence, and such negligence was a proximate· cause' of :,t~e occurrence m question and
                                                                                                                      •• : <        '       ,I •;.    ~· :,   " : •        •       •



Plaintiffs resulting injuries. .                                          ';                                                                                                                                                                   .,,_ .·
                                                '.    •.'·~·~~:_..-·                       ';                       'I          :'                         ~·;:':', ~:_,./\.·.·. . ·.,~·                                                 ••   r_~,' I\,··, ·l.                , . ·; ·;·_     . ~,

9.           Plaintiff would                    s~ow that;
                                                      .
                                                           b~sed
                                                            ..
                                                                 o~th~
                                                                 .  .
                                                                       ab.ove-described
                                                                        '·'. . . .    '·
                                                                                         facts, ·.Defendant
                                                                                                    .·
                                                                                                            was negligent.      .                                                                                                                    ,.
                                                                               ··.         ··,          -~·.        :::- .·,·, ..                    :·;·..-~··                    ~.            ,• ·.'.";;..·. _;;                            i.'';.-.·{~·L                         .   ·:'.'r\·1


Defendant, as occupier and owner of the premises, with. contrdl'bver the premises, had a duty to
                                                                                                                   •• · • • •                                                              • •• ' : , •.J •          '· •     ~.    ..                          '·   ~·              • : ••• ' \. • :     •    . '   ••



inform Plaintiff of the dangerous conditioi1 and ·make: safe                                                                                                                                                                                    'the defective condition existing on
Defendant's premises.

10.          Defendant is liable to Plaintiff
                                       .      under the theory
                                                            .
                                                               of premises
                                                                    .
                                                                           liabilitY
                                                                              .      based on the following                                                                                                                                      '




negligent conduct:

                    a. Failure to maintain the premises; inCluding· floor and· walkways,' in a reasonably
                       safecondition;> :c. '!.:,•.. , '.:··,:~::.;\.:'·"':·.·.: ..: .:..... :. '.L·. . >< •. :.:.:-::-.,> .. ,·.· .
                                                                                                                                    .   .     '      ...
                    b. Failure to :inspect the premises where the dang;ero).lS condition existed;
                                                                                                                                                                                                                     ..       ,.;         ',_;            ..

                    c. Failureito· correct the· condition by;'taK.ing:recis~iiable' rile~~ure 'to safeguard persons
                       who entered the premises; '-           · · ~, '· ·· ·: · ' ·
                                                                          . ··;'•          ·_~: .·:.:. -~::·'~                                                .<·;~·· . :.-:: .. ','..;                              '• ·v'."::-;,:::.:,~ '.•.-,                                             ;l{(:, .• ,~·.~·.r::.-,·!.~ ,·.~ ';

                       d. Failure to infonn Plaintiff of the dangerous condition existing on the premises;
                                 ;    ·-.~t··                                         .   ~:>:~ <-· ~;~-~:)::~\...;:;_-·.;:;.· . ~' :"~i~·                                                                                ":···h~· ..:                         . '··.:, ..::~.(~\.i~·-- ·~·.:~:-,~":dji.ir..<~~                             f.':\,_;.:• ·.'

                       e. Other acts deemed ~egligent.

11.          Each of the foregoing negligent acts and/or omissions, whether taken singularly or in any
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combination, was a proximate cause ofPlaintiffs injuries and damages that are described below.

p.           Defendant was also negligent in that. it failed to !:\Ct as., a reasonably prudent premise owner
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would act m the same or snn1lar s1tuat10n~ ·




14.     By virtue ofthe actions a~d .~onduct ciro6i~nd~~t as:s~i fo.hh abo~e~·~l~iritiffwas seriously
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injured and is entitled to rec~verthe following d~rriages:. .                                                                              '/: '; ,·,: ' .,.
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                       a. Past ~nd future medical expenses;
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 Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                                                                                                                                                                                                                    Page 16 of 39 PageID 22




                       b. Past and future pain, suffering. and 111ental !lngujsh;

                       c. Past ~nd                                        futurephy~ical                                                              impainnent; .
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                       d. Past and future physical disfigurement; and .
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                       e. Past lost wages and future loss of earning capacity.
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15.           By reason of the above, Piaintiff is entitled to recover damages from Defendant in an

amount within the jurisdictional limits of this Court, as well as pre and post-judgment interest.

                                                                                                                                                        Duty to Disclose

16.           Pursuant to 194, Tex. R. Civ. P. exempted by Rule 194.2(d), Defendant must, without

awaiting a discovery request, provide to Plaintiff the information or material described in Rule
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194.2, Rule 194.3, and Rule 194.4.                                                                                                                                            · ·. · · ·
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                                                                                                                                                    Initial Disclosures

17.           Pursuant t.o Rule 1,94, Tex1..._ -·-R.    Civ.     P., Defendant                  rrn.~st, without awaiting a discovery
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request, provide. inf~m~at!9~. _or ~pa~~r,i~ls ~e,scril>~d in Tex~~ Rule of, ,GivjlJ>ro~~~~.r,~ ) 94.2 }n
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Defendant's initial.disclosure. at:pr within30.days after_the                                                                                                                                                                                                         fili~g_of,the                                                 first                   answ~L                                Copies of
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documents and other tangible things must be serv¥P with Defendant's response.
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                                                                                                                                                     Rule 193.7 Notice                                                                                                                                                 ;    ', ..
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18.           Plaintiffhereby gives actual notice to Defendant that any and all documents produced may
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be used against Defendant ·~t any                                                                                                  pre~ trial prode~dlng' andJor at trial of this matter without the
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necessity of authentic~ting the; docu~ents:
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              Plaintiff prays that this citation issue and be ·seiveP upon Defendant i,n a form and rp.aiJ!ler
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prescribed by law, requiring that Defendant1 appear and a11;swer,                                                                   that upon final hearing,                                                                                                                                             ~nd
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Plaintiff have judgment agains~ Defendant in a total sum in excess of the minimum jurisdictional
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 Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                                                                                                                                                              Page 17 of 39 PageID 23
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limits of this Court, plus pre-judgment and post]udginenfinterests, all costs of Court, and all such
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other and further r~li,ef, to which he may be justly entitied.. ' ' ..
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                                                                                                                                                            DASPIT LAW FIRM

                                                                                                                                               ·Is/ Kenneth Aube
                                                                                                                                                  Kenneth Aube
                                                                                                                                                 Texas State BarNo. 24127226
                                                                                                                                                  600 :N. Pearl Street, Suite· 2205
                                                                                                                                                  Dallas, Texas 75201
                                                                                                                                                  Telephone: (469) 206-8210
                                                                                                                                          ,,. Facsifuile:-('713) 587.;;9(}8(i'..:.,l'j L. c.\L :,:,_, 1 ~

                                                                                                                                             · .· E-S~rvic.eE-mail: e-service@daspitlaw.com



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     Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                                                                                                                                                                                         Page 18 of 39 PageID 24
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Joanna Nava on behalf of John Daspit
BarNo.24048906                                                                                                                                                 '·'    . . ·:           ;            ~:          .       '        .     . :,.                           I'·
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jnava@daspitlaw .com
Envelope ID: 65214967
Status as of 6/13/2022 11 :56 AM CST

Case Contacts

 Name                     BarNumber Email                                                                                                                                                           TimestampSubmitted                                                                                                                Status
 Joanna Nava                                                  jnava@daspittaW;com\-. ·,                                                                                                        ·6/7/2022 3:45:04 PM                                                                                                                   SENT ·
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 Kenneth Aube
 Jaime Holder                         >'·';.: ,:
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 John Daspit                                                   e~seiVice.@aaspitlaw.com                                                                                          .                  6/7/2022 3:45:04 PM                                                                                                               SENT
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 Daspit Proactive Legal                                        daspit@proactivelegal.com                                                                                                            6l7/2022 3:45:04 PM                                                                                                               SENT




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Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 19 of 39 PageID 25




                 EXHIBIT 4




                                                          Exhibit 4
                                                                                                             FILED
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                                                                                                     FELICIA PITRE
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                Page 20 of 39 PageID       26 DISTRICT CLERK
                                                                                              DALLAS CO., TEXAS
                                                                                              Scott Anders DEPUTY


                                    CAUSE NO. DC-22-06133

 CRAIG CASTELLANOS,                    §        IN THE DISTRICT COURT
       Plaintiff,                      §
                                       §
 vs.                                   §        193rd JUDICIAL DISTRICT
                                       §
 KROGER TEXAS, L.P.,                   §
       Defendant.                      §        DALLAS COUNTY, TEXAS
______________________________________________________________________________
                         DEFENDANT'S ORIGINAL ANSWER

       COMES NOW Defendant Kroger Texas L.P. (hereafter “Defendant”), filing its Original

Answer, and, in support thereof, would respectfully show the Court as follows:

                                              I.
                                        GENERAL DENIAL

       1.      Defendant denies each and every material allegation contained in Plaintiff’s

Original Petition, demands strict proof thereof, and to the extent that such matters are questions

of fact, says Plaintiff should prove such facts by a preponderance of the evidence to a jury if he

can so do.

                                               II.
                                            DEFENSES

       2.      Defendant specifically denies Plaintiff’s allegations that it was negligent in any

respect, and Defendant denies that its alleged acts or omissions proximately caused Plaintiff’s

alleged damages.

       3.      Defendant claims that Plaintiff failed to use that degree of care and caution as

would have been used by a reasonable person under the same or similar circumstances, thereby

producing or proximately causing Plaintiff’s alleged damages, if any. Such acts or omissions of

Plaintiff were the sole proximate cause of Plaintiff’s alleged damages, if any, as Plaintiff should



DEFENDANT’S ORIGINAL ANSWER                                                                  Page 1
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have kept a proper lookout for her own safety and avoided the alleged unreasonably dangerous

condition.

        4.      To the extent applicable, Defendant may show that the acts or omissions of third

persons not under the control of Defendant were the sole, producing, or proximate cause of

Plaintiff's damages or injuries, if any.

        5.      Defendant asserts that it had neither actual nor constructive knowledge of the

condition about which Plaintiff complains and that, in any event, the alleged hazard was not

"unreasonably dangerous."

        6.      Defendant may further show that the damages of which Plaintiff complains, if any,

were the result of prior, pre-existing, or subsequent injuries, accidents or conditions, and said

prior, pre-existing, or subsequent injuries, accidents, or conditions were the sole or a contributing

cause of Plaintiff’s damages, if any.

        7.      Defendant may further show that Plaintiff breached his duty to mitigate damages

by failing to exercise reasonable care and diligence to avoid loss and minimize the consequences

of damages.

        8.      Defendant may further show that the accident complained of was an unavoidable

accident as that term is known in law.

        9.      Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.




DEFENDANT’S ORIGINAL ANSWER                                                                    Page 2
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       10.     Defendant further asserts that any claims for medical or health care expenses

incurred are limited to the amount actually paid or incurred by or on behalf of Plaintiff pursuant

to Texas Civil Practice and Remedies Code § 41.0105.

       11.     Defendant asserts that it is entitled to contribution, indemnity, and all available

credits as provided for in the Texas Civil Practice and Remedies Code and under Texas law, in the

unlikely event that an adverse judgment is rendered against it in this matter.

       12.     Defendant contends that, pursuant to § 18.091 of the Texas Civil Practice &

Remedies Code, to the extent Plaintiff is seeking a recovery for loss of earnings, lost wages, loss

of earning capacity and/or loss of contributions of pecuniary value, evidence of this alleged loss

must be presented by Plaintiff in the form of a net loss after reduction for income tax payments,

or unpaid tax liability to any federal income tax law.

                                               III.
                                             PRAYER

       Defendant respectfully prays that Plaintiff take nothing by this cause of action, that

Defendant be permitted to recover the costs expended on its behalf, and for such other and

further relief to which Defendant may show itself justly entitled, in law or in equity.




DEFENDANT’S ORIGINAL ANSWER                                                                  Page 3
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22               Page 23 of 39 PageID 29



                                           Respectfully submitted,

                                            /s/ B. Kyle Briscoe
                                           B. Kyle Briscoe
                                           State Bar No. 24069421
                                           kbriscoe@peavlerbriscoe.com
                                           Christopher M. Blanton
                                           State Bar No. 00796218
                                           cblanton@peavlerbriscoe.com
                                           PEAVLER|BRISCOE
                                           2215 Westgate Plaza
                                           Grapevine, Texas 76051
                                           214-999-0550 (telephone)
                                           214-999-0551 (fax)
                                           ATTORNEYS FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on June 29, 2022.

                                           /s/ B. Kyle Briscoe
                                           B. Kyle Briscoe




DEFENDANT’S ORIGINAL ANSWER                                                             Page 4
       Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22             Page 24 of 39 PageID 30
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
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Bryan Briscoe on behalf of Bryan Briscoe
Bar No. 24069421
kbriscoe@peavlerbriscoe.com
Envelope ID: 65905166
Status as of 6/30/2022 8:03 AM CST

Case Contacts

Name                     BarNumber   Email                          TimestampSubmitted Status

DLF Intake                           intake@daspitlaw.com           6/29/2022 4:41:16 PM   SENT

Alma Lira                            Alira@proactivelegal.com       6/29/2022 4:41:16 PM   SENT

Daspit Proactive Legal               daspit@proactivelegal.com      6/29/2022 4:41:16 PM   SENT

Jaime Holder                         jholder@proactivelegal.com     6/29/2022 4:41:16 PM   SENT

Joanna Nava                          jnava@daspitlaw.com            6/29/2022 4:41:16 PM   SENT

John Daspit                          e-service@daspitlaw.com        6/29/2022 4:41:16 PM   SENT

Kenneth Aube                         kaube@daspitlaw.com            6/29/2022 4:41:16 PM   SENT

Kyle Briscoe                         kbriscoe@peavlerbriscoe.com    6/29/2022 4:41:16 PM   SENT

Chris M.Blanton                      cblanton@peavlerbriscoe.com    6/29/2022 4:41:16 PM   SENT

Mark Forester                        mforester@peavlerbriscoe.com   6/29/2022 4:41:16 PM   SENT

Liz Contreras                        econtreras@peavlerbriscoe.com 6/29/2022 4:41:16 PM    SENT
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 25 of 39 PageID 31




                 EXHIBIT 5




                                                          Exhibit 5
     Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                     Page 26 of 39 PageID 32




                                                DC-22-06133

             CRAIG CASTELLANOS                                     IN THE DISTRICT COURT

                          vs.                                      193RD JUDICIAL DISTRICT

              KROGER TEXAS, L.P.                                   DALLAS COUNTY TEXAS

                               NOTICE OF INITIAL DISMISSAL HEARING


Counsel or Pro Se Plaintiff:

This case is set for a hearing on the Initial Dismissal Docket, as per Tex. R. Civ. P. 165a, for
THURSDAY, July 22,2022, at 1:30 p.m. in the 193rd District Court Courtroom.

1.       If no Defendant has been served as evidenced by no return of citation having been filed with the
         court on or before the Dismissal Hearing, the case is subject to being dismissed at the Dismissal
         Hearing;

2.       If service has been made on a Defendant, but no answer has been filed (and any such answer is
         past due before the Dismissal Hearing Date), you must obtain a default judgment on or before the
         Dismissal Hearing, or the case is subject to being dismissed at the Dismissal Hearing. You are
         encouraged to submit requests for default by submission with affidavit.

3.       If service on at least one Defendant has been made and the citation has been returned to the Court
         before the Dismissal Hearing, but the time to file an answer has not yet expired, then the
         Dismissal Hearing should be reset. Please contact the Court Administrator to obtain reset. You
         are expected to obtain a default judgment before the reset date of the Dismissal Hearing/Status
         Conference, or the case is subject to being dismissed.

4.       If an answer is filed on or before the Dismissal Hearing, the case will be referred to the Court
         Coordinator to be set for trial, if not already set.

SIGNED this June 22, 2022




         The Honorable Bridgett N. Whitmore,
         193rd Judicial District Court
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 27 of 39 PageID 33




                 EXHIBIT 6




                                                           Exhibit 6
                                                                                                              FILED
                                                                                                  8/19/2022 1:07 PM
                                                                                                      FELICIA PITRE
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                 Page 28 of 39 PageID       34 DISTRICT CLERK
                                                                                               DALLAS CO., TEXAS
                                                                                               Scott Anders DEPUTY


                                    CAUSE NO. DC-22-06133

CRAIG CASTILLO                                     §           IN THE DISTRICT COURT OF
                                                   §
         PLAINTIFF,                                §
                                                   §
V.                                                 §             DALLAS COUNTY, TEXAS
                                                   §
KROGER TEXAS. LP                                   §
                                                   §
         DEFENDANT.                                §              193RD JUDICIAL DISTRICT


            PLAINTIFF CRAIG CASTILLO NOTICE OF FILLING BUSINESS
                            RECORD AFFIDAVITS


      You are hereby notified that Plaintiff has filed in the above-entitled and
numbered cause the following business record affidavits:

 1.    Affidavit of Amy Lopez, Custodian of Records for Memorial MRI dated June 2, 2022
       (Medical);

 2.    Affidavit of Amy Lopez, Custodian of Records for Memorial MRI dated June 2, 2022
       (Billing);

 3.    Affidavit of Arely Salinas, Custodian of Records for Waltham Consultants P.A. dated May
       24, 2022 (Medical);

 4.    Affidavit of Arely Salinas, Custodian of Records for Waltham Consultants P.A. dated May
       24, 2022 (Billing);



       These records will be offered in evidence at the trial of the captioned cause.


       Pursuant to Rule 902(10)(a) of the Texas Rules of Evidence, these records will be made
available by counsel for Plaintiff for inspection and copying at the expense of the person desiring
the copies. In addition, Pursuant to Rule 902(10)(a) of the Texas Rules of Evidence these affidavits
are being filed with the clerk of the court at least fourteen days before the day on which evidence
is to be presented at the trial of the captioned cause.
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22    Page 29 of 39 PageID 35



                                              Respectfully submitted,

                                              DASPIT LAW FIRM

                                       /s/ Kenneth Aube
                                       Kenneth Aube
                                       State Bar Number: 24127226
                                       600 North Pearl Street, Suite 2205
                                       Dallas, Texas 75201
                                       Telephone: 469.206.8210
                                       Facsimile: 713.587.9086
                                       E-mail: e-service@daspitlaw.com

                                       ATTORNEY FOR PLAINTIFF
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                Page 30 of 39 PageID 36




                                CERTIFICATE OF SERVICE

       I hereby certify that as true and correct copy of the foregoing document has been served in
compliance with Rules 21 and 21a of the Texas Rules of Civil Procedure on this 19th day of August
2022.

Via E-mail: kbriscoe@peavlerbriscoe.com cblanton@peavlerbriscoe.com
B. Kyle Briscoe
State Bar No. 24069421

Christopher M. Blanton
State Bar No. 00796218

PEAVLER | BRISCOE
2215 Westgate Plaza
Grapevine, Texas 76051
Telephone: 214-999-0550
Facsimile: 214-999-0551


ATTORNEY FOR DEFENDANT


                                                                           /s/ Kenneth Aube
                                                                           Kenneth Aube
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 31 of 39 PageID 37




                EXHIBIT 1
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                  Page 32 of 39 PageID 38


                                 MEDICAL RECORDS AFFIDAVIT

Records Pertaining To:     CRAIG CASTELLANOS
                             DOB: 05/31/1984
                             SSN: XXX-XX-
                             DOI: 04/16/2022

                                                          AMY LOPEZ
Before me, the undersigned authority, personally appeared _________________________, who,
being by me duly sworn, deposed as follows:

I am of sound mind and capable of making this sworn statement. I have personal knowledge of
the facts written in this statement.

                                  MRI Centers of Texas
I am the custodian of records of ________________________     and am familiar with the manner
in which its records are created and maintained by virtue of my duties and responsibilities.

               6
Attached are ____    pages of records. These are the original records or exact duplicates of the
original records. The records were made at or near the time of each act, event, condition, opinion,
or diagnosis set forth. The records were made by, or from information transmitted by, persons
with knowledge of the matters set forth. The records were kept in the course of regularly
conducted business activity. It is the regular practice of the business activity to make the records.


                                                                   __________________________
                                                                   AFFIANT (Custodian of Records)


                                         02
Sworn to and subscribed before me on the _____        JUNE
                                               day of ______________________,   22
                                                                              20______.


                                                              ______________________________
                                                              NOTARY PUBLIC
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 33 of 39 PageID 39




                EXHIBIT 2
  Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                  Page 34 of 39 PageID 40


                                  BILLING RECORDS AFFIDAVIT

Records Pertaining To: CRAIG CASTELLANOS
                               DOB:
                               SSN: XXX-XX-
                               DOI: 04/16/2022


                                                          AMY LOPEZ
Before me, the undersigned authority, personally appeared _________________________, who,
being by me duly sworn, deposed as follows:

I am of sound mind and capable of making this sworn statement. I have personal knowledge of
the facts written in this statement.

                                  MRI Centers of Texas
I am the custodian of records of ________________________     and am familiar with the manner
in which its records are created and maintained by virtue of my duties and responsibilities.

               2
Attached are ____    pages of records. These are the original records or exact duplicates of the
original records. The records were made at or near the time of each act, event, condition, opinion,
or diagnosis set forth. The records were made by, or from information transmitted by, persons
with knowledge of the matters set forth. The records were kept in the course of regularly
conducted business activity. It is the regular practice of the business activity to make the records.

                                                     MRI Centers of Texas
On the dates indicated on the attached records, ________________________         provided services
   CRAIG CASTELLANOS
to _________________________.         An itemized statement of the services and the charges for the
services is attached to this affidavit and is part of this affidavit.

                          MRI Centers of Texas
The services provided by _________________________       were necessary and the amount charged
for the services was reasonable at the time and place that the services were provided. The total
                                       0.00
amount paid for the services was $________,        and the amount currently unpaid but which
 MRI Centers of Texas
____________________                                                                 7275.00
                         has a right to be paid after any adjustments or credits is $________.


                                                                   __________________________
                                                                   AFFIANT (Custodian of Records)

                                         02
Sworn to and subscribed before me on the _____        JUNE
                                               day of ______________________,   22
                                                                              20______.

                                                              ______________________________
                                                              NOTARY PUBLIC
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 35 of 39 PageID 41




                EXHIBIT 3
 Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                    Page 36 of 39 PageID 42




                                 MEDICAL RECORDS AFFIDAVIT

Records Pertaining To: CASTELLANOS, CRAIG
                               DOB:
                               SSN:
                               DOl:

Before me, the undersigned authority, personally appeared _A_r_
                                                              e_,ly'--
                                                                     S_a_li_
                                                                           na
                                                                            _s________, who,
being by me duly sworn, deposed as follows:

I am of sound mind and capable of making this sworn statement. I have personal knowledge of
the facts written in this statement.

1am the custodian of records of Waltham Consultants P.A and am familiar with the manner
in which its records are created and maintained by virtue of my duties and responsibilities.

Attached are    c;-   pages of records. These are the original records or exact duplicates of the
origina l records. The records were made at or near the time of each act, event, condition, opinion,
or diagnosis set forth. The records were made by, or from information transmitted by, persons
with knowledge of the matters set forth. The records were kept in the course of regularly
conducted business activity. It is the regular practice of the business activity to make the records.


                                                                     ,e
                                                                   A~ (Cust~               Records}



Sworn to and subscribed before me on the     9-~. day of _ _J_,}Ja~·'-,-~tft-----'' 20 r;)-<)._.
                                                                vf'V1;c)u)h. tjek~
                                                              NOTARY PUBLIC                   -tT-L)
Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22   Page 37 of 39 PageID 43




                EXHIBIT 4
 Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22                      Page 38 of 39 PageID 44




                                   BILLING RECORDS AFFIDAVIT

Records Pertaining To: CASTELLA
                                DOB:
                               SSN:
                               DOl:

Before me, the undersigned authority, personally appeared _A_re_l.=....y_S_a_lni_a_s_ _ _ _ _ _     ___J   who,
being by me duly sworn, deposed as follows:

I am of sound mind and capable of making this sworn statement. I have personal knowledge of
the facts written in this statement.

I am the custodian of records of Waltham Consultants P.A      and am familiar with the manner
in which its records are created and maintained by virtue of my duties and responsibilities.

Attached are j__ pages of records. These are the original records or exact duplicates of the
original records. The records were made at or near the time of each act, event, condition, opinion,
or diagnosis set forth. The records were made by, or from information transmitted by, persons
with knowledge of the matters set forth. The records were kept in the course of regularly
conducted business activity. It is the regular practice of the business activity to make the records.

On the dates indicated on the attached records, Waltham Consultants P.A          provided services
to CASTELLANOS, CRAIG              . An itemized statement of the services and the charges for the
services is attached to this affidavit and is part of this affidavit.

The services provided by Waltham Consultants P.A         were necessary and the amount charged
for the services was reasonable at the time and place that the services were provided. The total
amount paid for the services was $       D' 00 and the amount currently unpaid but which
                                                   I



Waltham Consultants P.A  has a right to be paid after any adjustments or credits is Sotl5.ot>.




                                                                    AF~(Custodian of Records)

Sworn to and subscribed before me on the      ~lQday of           (}lc.ua=                 I   20   'd--~ .
                                                                 ~tc)u})L ~~
                                                               NOTARY PUBLIC



                                                                              MICHElLE GONZALEZ              ~
                                                                             My Notaly ID # 128301755       ;~
                                                                              Expires June 171 2022         ~~
                                                                               -~f'ti.t"J;;~c= .. ..,.,.~
             Case 3:22-cv-02277-S Document 1-2 Filed 10/11/22             Page 39 of 39 PageID 45


                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Shina Forsyth on behalf of John Daspit
Bar No. 24048906
sforsyth@daspitlaw.com
Envelope ID: 67476960
Status as of 8/19/2022 3:25 PM CST
Case Contacts
Name                     BarNumber   Email                           TimestampSubmitted     Status
DLF Intake                           intake@daspitlaw.com            8/19/2022 1:07:38 PM   SENT
Alma Lira                            Alira@proactivelegal.com        8/19/2022 1:07:38 PM   SENT
Daspit Proactive Legal               daspit@proactivelegal.com       8/19/2022 1:07:38 PM   SENT
Kyle Briscoe                         kbriscoe@peavlerbriscoe.com     8/19/2022 1:07:38 PM   SENT
Mark Forester                        mforester@peavlerbriscoe.com    8/19/2022 1:07:38 PM   SENT
Jaime Holder                         jholder@proactivelegal.com      8/19/2022 1:07:38 PM   SENT
Joanna Nava                          jnava@daspitlaw.com             8/19/2022 1:07:38 PM   SENT
John Daspit                          e-service@daspitlaw.com         8/19/2022 1:07:38 PM   SENT
Kenneth Aube                         kaube@daspitlaw.com             8/19/2022 1:07:38 PM   SENT
Chris M.Blanton                      cblanton@peavlerbriscoe.com     8/19/2022 1:07:38 PM   SENT
Liz Contreras                        econtreras@peavlerbriscoe.com   8/19/2022 1:07:38 PM   SENT
Remigio DiMarco                      RDimarco@PeavlerBriscoe.com     8/19/2022 1:07:38 PM   SENT
